4:01-cr-03105-RGK-CRZ       Doc # 330   Filed: 09/28/05   Page 1 of 1 - Page ID # 1104




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,               )
                                        )      4:01CR3105
              Plaintiff,                )
                                        )
  vs.                                   )      ORDER
                                        )
KENNAN MALLORY,                         )
                                        )
              Defendant.


    IT IS ORDERED that a revocation hearing is set to commence at 1:00 p.m. on

November 4, 2005 before the Hon. Richard G. Kopf, United States District Judge, in

Courtroom #1, United States Courthouse, Lincoln, Nebraska.


        Dated: September 28, 2005


                                 BY THE COURT

                                 s/ David L. Piester

                                 United States Magistrate Judge
